Case 3:17-cv-00072-NKM-JCH Document 1160 Filed 10/04/21 Page 1lof4 Pageid#: 19859
IN THE UNITED STATES DISTRICT COURT FOR THE

SLERK'S Or FICE U.S. DIST. COURT
WESTERN DISTRICT OF VIRGINIA AT CHARLOTTESVILE, VA

Charlottesville Division a,
OCT 04 2021

Elizabeth Sines, et al
QUDLEY, CLE

    

Plaintiffs
Vv Case No: 3:17-cv-07
Jason Kessler, et al

Defendants

MOTION IN LIMINE TO EXCLUDE EXPERT TESTIMONY THAT IS UN-
DISCLOSED OR DERIVED FROM UNDISCLOSED AND / OR HEARSAY MATERIAL

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Comes now the Defendant, Christopher Cantwell, and, he Moves this Court
In LImine To Exclude any and all Expert Testimony ~which is Derived
From Undisclosed And/Or Hearsay Material. In support, he states as

follows:

1) Cantwell gained access to the expert reports of Deborah .Lipstadt
and Peter Simi and Kathleen Blee on-September 15 2021, and, can
now aver that these reports were not disclosed to him prior to
the closure of discovery, preventing him from deposing these wit-
nesses. Sworn Declaration Of Christopher Cantwell As To The Expert
Reports of Simi, Blee and Lipstadt ("Cantwell Expert Decl") para

en-§ 4

2) Cantwell has previously objected to Lipstadt's report as irrelevant
because animus against those who identify as “Jews” is irrelevant
to this matter, as undisclosed, as irrelevant because it goes to-
wards an aiding and abetting / incitement theory and doesn't have
foundation in a conspiracy theory of liability, and, inflammatory

and irrelevant because it attempts to-link Cantwell to the Holocaust®,

a ‘ historical event that: dtcurred -thnéssigenemati ors. ,-:

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Case 3:17-cv-00072-NKM-JCH Document 1160 Filed 10/04/21 Page 20f 4 Pageid#: 19860

3)

4)

5)

ago, and, :decades before Cantwell was born. Cantwell has also
objected to the testimony of Simi and Blee as irrelevant because
animus against Judaism is irrelevant, animus against "immigants,
social minorities and feminism" is irrelevant, because it goes
towards an aiding and abetting /-incitement and doesn't have
Foundation in a conspiracy theory of liability, and, irrelevant
because its only legitimate purpose is to contextualize Defendants’
comments on Discord, and, Cantwell was not active or only minimally

active on the Discord servers in question.

Cantwell can now aver that the expert reports of Lipstadt, Simi,
and Blee were not disclosed during discovery. Fed.R.Civ.P. 26(a)
(2) required their disclosure, and, Fed.R.Civ.p. 37(c)(1) requires
their exclusion if not disclosed. Because they were not timely

disclosed, -Lipstadt, Blee and Simi cannot testify.

Further examination of Lipstadt's, Simi's and Blee's reports also
indicate that they are largely based uponshearsay material, undis-
closed and "redacted" material, and/or, depositions of which Cant-
well was not noticed. As such, these portions of the report and

any opinions derived from this material are inadmissible.

Much of ‘Simi and Blee'’s report as regards Cantwell cites to blog
posts «authored by the Southern Poverty Law Center ("SPLC") on

their Hatewatch blog. The SPLCsis a well known Semocrat-parti-:

san organization that has been widely criticized for filing

lawsuits Tike the instant lawsuit as a fundraising tool, exagger-
ating the size and importance of so-called "“whitessupremacist"

and similar groups, often in coordination with the FBI's Domestic
Terrorism Operations Units, to make it seem that its work is much

more socially relevant and important than it is. Beyond this
Case 3:17-cv-00072-NKM-JCH Document 1160 Filed 10/04/21 Page 3o0f4 Pageid#: 19861

partisanship, these Hatewatch blogs have not been disclosed to
Cantwell, and, do
not appear to fit into any exception to the hearsay rules, Fed.
R-Evid. 801, et seq. Hearsay is generally not admissible. Fed.
R.Evid. 802. And, material derivative of inadmissible hearsay

is also not admissible. Fed.R.Evid. 805. Thus, any opinion that
Simi or Blee has derived from material published by the SPLC's
Hatewatch blog or any similar hearsay source must be excluded at

trial.

6): Further, both the Lipstadt:report and Blee and Simi's reports are
based in large part upon material identified as "redacted". Fed.
R.Civ.P. 26(a)(2)(B)(ii) requires the disclosure of all “facts or
data considered by the witness," and, Fed.R.Civ.B. 37(c)(1) re-
quires the exclusion of all undisclosed material. Because the
Plaintiffs have never disclosed this "redacted" material, neither
Lipstadt nor Simi and Blee not‘any other expert may testify as to

any opinion derived from this material.

7) Lastly, Cantwell was only ever timely noticed of two depositions,
his own and a member of the Rise Above Movement's. He has objected
to the use ofall other deposition testimony pursuant to Fed.R.Civ.
P. 32(a)(1)(A) and 37(c)(1). Much of Lipstadts's and Simi and Blee's
reports are derivative of this deposition testimony: of which
Cantwell received no notice. As such, any opinion that Lipstadt,
Simi and Blee, or, any other expert witness derived as a result of
this testimony must be excluded at trial.

Thus, for good cause shown, Cantwell Moves in Limine to Exclude Expert

Testimony That was not properly Disclosed or which is Derived From

Undisclosed And/Or Hearsay Material.
 

Case 3:17-cv-00072-NKM-JCH Document 1160 Filed 10/04/21 Page 4of4 Pageid#: 19862

Ree pect fully Submitted,
Christopher Cantwell
USP-Marion

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CERTIFICATE OF SERVICE

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I hereby certify that this Motion in Limine was mailed to the Clerk

of the Court, 1st Class Postage Prepaid, for posting upon the ECF, to
which all other parties are subscribed, and, handed to USP-Marion staff
members Nathan Simpkins: and/or Kathy Hill for electronic transmission

to the Court, this 4th day of October, 2021.

C Coupereme=

Christopher Cantwell

 
